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UNITED sTATEs DISTRICT CoURT LED 9 t é'-’- D-C’.

FOR THE WESTERN DISTRICT OF TENNESSEE

 

WESTERN DIVISION AT MEMPHIS 05 JUH l 7 PH 3= 3 0
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THE cLARK CONSTRUCTION GROUP, INC.,) /v"'>¢ < ta reasons
)
Plaintiff, )
)
v. ) Civil Action No. 01-2478-D
)
EAGLE AMALGAMATED SERVICES, INC., )
et al., )
)
Defendants. )

 

ORDER GRANTING
PLAINTIFF’S MOTION FOR EXTENSION OF TIME TO FILE OPPOSITION PAPERS
TO RLI’S AND INVESTORS’ MOTIONS FOR SUMMARY JUDGMENT

 

It appearing to the Court that Clark Construction Group, LLC’s motion for extension of

time is well taken and is not opposed, it is hereby:

ORDERED that the deadline for Clark Constrnction Group, LLC to tile opposition
papers to RLI’s and Investors’ motions for summary judgment is hereby continued and extended

to Wednesday, June 15, 2005.

It is so ORDERED this g f day of June, 2005 .

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Thls doel`.itib"nt entered on the docket l ce
with Rute 58 ludlof 79{&) FRCP on

   

DC#184198 v3

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 245 in
case 2:01-CV-02478 Was distributed by faX, mail, or direct printing on
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